Case 5:13-cr-20239-MAG-PJK ECF No. 167, PageID.2219 Filed 07/17/17 Page 1 of 6




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


IBRAHIM AOUN,
                                                 Criminal No. 13-20239-01
        Petitioner,                              Case No. 16-14392

v.                                               Honorable John Corbett O’Meara

UNITED STATES OF AMERICA,

        Respondent.
                                           /

                 OPINION AND ORDER DENYING
         PETITIONER’S MAY 4, 2017 AMENDED § 2255 MOTION

     This matter came before the court on petitioner Ibrahim Aoun’s May 4, 2017

amended motion to vacate, set aside or correct sentence. The government filed a

response May 23, 2017; and Petitioner filed a reply brief July 5, 2017.

                            BACKGROUND FACTS

     A jury found petitioner Ibrahim Aoun guilty as charged in all eight counts upon

which he was indicted. Aoun was convicted on drug and guns charges and sentenced

to 360 months’ imprisonment. The sentence was affirmed following Aoun’s appeal

to the United States Court of Appeal for the Sixth Circuit, and the United States

Supreme Court subsequently denied his petition for a writ of certiorari.
Case 5:13-cr-20239-MAG-PJK ECF No. 167, PageID.2220 Filed 07/17/17 Page 2 of 6




     Petitioner filed a motion to vacate, set aside or correct sentence pursuant to 28

U.S.C. § 2255 on December 7, 2016, and filed an amended motion May 4, 2017. The

court entered orders granting the government’s requests for extensions to file a

response, and the government filed its response to the amended motion May 23, 2017.

In his motions Auon claims he had ineffective assistance of counsel in the appellate

process because his attorney: (1) failed to challenge the district court’s denial of his

Rule 29 motion, and (2) failed to appeal on the basis of the voir dire proceeding.

                               LAW AND ANALYSIS

     To obtain post-conviction relief under 28 U.S.C.§ 2255, a petitioner must allege

the following: (1) an error of constitutional magnitude, (2) a sentence imposed

outside the federal statutory limits, or (3) an error of fact or law so fundamental as to

render the entire criminal proceeding invalid. Mallett v. United States, 334 F.3d 491,

496-97 (6th Cir. 2003). In order to obtain collateral relief under § 2255, a petitioner

must clear a significantly higher hurdle than would exist on direct appeal. United

States v. Frady, 456 U.S. 152 (1982). A motion to vacate sentence under § 2255 can

be denied if it states “only bald legal conclusions with no supporting factual

allegations.” Sanders v. United States, 373 U.S. 1, 19 (1963). Furthermore, an

evidentiary hearing is not required “if the petitioner’s allegations cannot be accepted

as true because they are contradicted by the record, inherently incredible, or


                                           2
Case 5:13-cr-20239-MAG-PJK ECF No. 167, PageID.2221 Filed 07/17/17 Page 3 of 6




conclusions rather than statements of fact.” Valentine v. United States, 488 F.3d 325,

333 (6th Cir. 2007) (quoting Arrendondo v. United States, 178 F.3d 778, 782 (6th Cir.

1999)).

     In Strickland v. Washington, 466 U.S. 668, 687 (1984) the Supreme Court

articulated the standard for evaluating claims of ineffective assistance of counsel as

follows:

      First, the defendant must show that counsel’s performance was deficient.
      This requires showing that counsel made errors so serious that counsel
      was not functioning as the ‘counsel’ guaranteed the defendant by the
      Sixth Amendment. Second, the defendant must show that the deficient
      performance prejudiced the defense. This requires showing that
      counsel’s errors were so serious as to deprive the defendant of a fair trial,
      a trial whose result is reliable. Unless a defendant makes both showings,
      it cannot be said that the conviction . . . resulted from a breakdown in the
      adversary process that renders the result unreliable.

     Judicial scrutiny of counsel’s performance must be highly deferential, and “a

court must indulge in a strong presumption that counsel’s conduct falls within the

range of reasonable professional assistance; that is, the defendant must overcome the

presumption that, under the circumstances, the challenged action might be considered

sound . . . strategy.” Id. at 689.

     The Strickland standard applies to appellate counsel as well. Goff v. Bagley, 601

F.3d 445, 462 (6th Cir. 2010). The Supreme Court has held that a defendant does not

have a constitutional right to have every appealable issue raised in his appeal. Smith


                                           3
Case 5:13-cr-20239-MAG-PJK ECF No. 167, PageID.2222 Filed 07/17/17 Page 4 of 6




v. Murray, 477 U.S. 527, 536 (1986). Rather, the law recognizes that effective

attorneys must make strategic judgments by “winnowing out the weaker arguments

on appeal and focusing on those more likely to prevail” because that “is the hallmark

of effective appellate advocacy.” Id. at 536. “Counsel’s failure to raise an issue on

appeal could only be ineffective assistance if there is a reasonable probability that

inclusion of the issue would have changed the result of the appeal.” Jones v. Barnes,

463 U.S. 745, 751-53 (1983). “Generally, only when ignored issues are clearly

stronger than those presented, will the presumption of effective assistance of counsel

be overcome.” Monzo v. Edwards, 281 F.3d 568, 579 (6th Cir. 2002).

     In this case petitioner Aoun’s appellate counsel, who also represented him in the

trial court, clearly exercised his legal judgment to forgo raising the denial of the Rule

29 motion on appeal in favor of stronger arguments. Gov’t. Ex. 1. Aoun cannot show

that the court’s denial of the Rule 29 motion would have been overturned on appeal,

thereby rendering his counsel’s assistance ineffective.

     In his second argument, Petitioner alleges that his trial was tainted because of the

behavior of a potential juror who was dismissed by the court during voir dire. In his

declaration attached to his amended § 2255 motion, Aoun writes:

      Before she exited the courtroom, she expressed to the court that she
      would like to say something. The judge granted her authority to speak.
      She turned to glare at me, pointing almost violently, and began crying
      frantically. She yelled, ‘My brother overdosed and died because of

                                           4
Case 5:13-cr-20239-MAG-PJK ECF No. 167, PageID.2223 Filed 07/17/17 Page 5 of 6




      people like you!’ She continued crying, turned in the direction of the
      door, and slowly walked out of the courtroom. It was obvious that
      everyone in the room had been shaken.

Aoun dec. at 1. First, this is an exaggerated account of what happened during voir

dire. There was no yelling and no frantic crying. Second, the juror was dismissed by

the court and had no part in the ultimate finding by the jury–guilty on all eight counts.

     Although Petitioner asserts that his counsel was ineffective for failing to ask for

a transcript of the voir dire for use in his appeal, counsel explained to him that it was

likely the court would not grant such a request in order to ensure the safety of the

jurors. In any event, his counsel’s decision not to pursue at the appellate level

Petitioner’s claims regarding jury voir dire was firmly grounded in the exercise of

sound legal judgment. Accordingly, the court will deny petitioner Aoun’s § 2255

motion.

                                       ORDER

     It is hereby ORDERED that petitioner Ibrahim Aoun’s initial § 2255 motion,

filed December 15, 2016, is DENIED AS MOOT.

     It is further ORDERED that petitioner Ibrahim Aoun’s April 10, 2017 motion

for extension of time to file an amended motion is DENIED AS MOOT.

     It is further ORDERED that petitioner Ibrahim Aoun’s May 4, 2017 motion to

enter an amended motion is DENIED AS MOOT.


                                           5
Case 5:13-cr-20239-MAG-PJK ECF No. 167, PageID.2224 Filed 07/17/17 Page 6 of 6




     It is further ORDERED that petitioner Aoun’s May 4, 2017 amended motion to

vacate, set aside or correct sentence is DENIED in its entirety.


                                       s/John Corbett O'Meara
                                       United States District Judge
Date: July 17, 2017




      I hereby certify that a copy of the foregoing document was served upon the
parties of record on this date, July 17, 2017, using the ECF system and/or ordinary
mail.


                                       s/William Barkholz
                                       Case Manager




                                          6
